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                      EXHIBIT A




Coalition for Humane Immigrant Rights, et al. v. Noem et al., 1:25-cv-00872 (JMC)
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                      EXHIBIT B




Coalition for Humane Immigrant Rights, et al. v. Noem et al., 1:25-cv-00872 (JMC)
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Corina Almeida                                                          DETAINED
Chief Counsel

Derek Faraldo
Assistant Chief Counsel
U.S. Immigration and Customs Enforcement
U.S. Department of Homeland Security
1705 E. Hanna Rd.
Eloy, AZ 85131



                      UNITED STATES DEPARTMENT OF JUSTICE
                    EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                               IMMIGRATION COURT
                                 ELOY, ARIZONA

___________________________________
                                    )
In the Matter of:                   )
                                    )
                                    )              File No.:
                                    )
In removal proceedings              )
___________________________________ )


Immigration Judge: ORECHWA, NICOLAS                Next Hearing: 4/15/2025


                       DEPARTMENT OF HOMELAND SECURITY
                      MOTION TO DISMISS WITHOUT PREJUDICE




                                           1
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                    UNITED STATES DEPARTMENT OF JUSTICE
                  EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                             IMMIGRATION COURT
                               ELOY, ARIZONA

____________________________________
                                    )
In the Matter of:                   )
                                    )
                                    )                      File No.:
                                    )
In removal proceedings              )
___________________________________ )


                       DEPARTMENT OF HOMELAND SECURITY
                      MOTION TO DISMISS WITHOUT PREJUDICE

       Pursuant to 8 C.F.R. § 1239.2(c) and 8 C.F.R. § 239.2(a)(6), the Department of

Homeland Security (the Department) hereby moves to dismiss the removal proceedings on the

Notice to Appear (NTA), issued on or about November 21, 2023, because the NTA was

improvidently issued as the respondent qualifies for expedited removal pursuant to Immigration

and Nationality Act § 235(b).

       WHEREFORE, for the reasons stated above, the Department requests this Court grant

its motion to dismiss without prejudice.

       Respectfully submitted on this 9th day of April 2025.


                                                   ________________________
                                                   Derek Faraldo
                                                   Assistant Chief Counsel

                                                   Corina E. Almeida
                                                   Chief Counsel
                                                   U.S. Immigration and Customs Enforcement
                                                   U.S. Department of Homeland Security




                                               2
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this Department of Homeland Security Motion to Dismiss Without
Prejudice and any attached documents was/were served upon the respondent (or his/her
representative):
  by placing a true copy in a sealed envelope, with postage fully to be prepaid and causing the
same to be mailed by first class mail to the address set forth below:
   by placing a true copy in a sealed envelope into the inter/intra-office mail at Choose an item.,
to the address set forth below:
  by e-service or email to the address set forth below:
  by UPS to the address set forth below:



                                        ELOY, AZ 85131

   through the EOIR Courts and Appeals System (ECAS), in which both parties are
participating. Therefore, no separate service was completed.

Date: April 9, 2025                                   ________________________
                                                      Assistant Chief Counsel




                                                 3
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                      UNITED STATES DEPARTMENT OF JUSTICE
                    EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                               IMMIGRATION COURT
                                 ELOY, ARIZONA


In the matter of:                                                      A Number:


                              ORDER OF THE IMMIGRATION JUDGE

    Upon consideration of                                            Dismiss Without
                    Prejudice, it is HEREBY ORDERED that the motion be

   ( ) GRANTED            (    ) DENIED because:

       (     )   DHS does not oppose the motion.
       (     )   The respondent does not oppose the motion.
       (     )   A response to the motion has not been filed with the court.
       (     )   Good cause has been established for the motion.
       (     )   The court agrees with the reasons stated in the opposition to the motion.
       (     )   The motion is untimely per ____________________________.
       (     )   Other:


Deadlines:

       (     )   The application(s) for relief must be filed by _____________________.
       (     )   The respondent must comply with DHS biometrics instructions by _____.
       (     )   The Department/Respondent/Both must file their documents by _______.


______________________________                         ______________________________
Date                                                   Immigration Judge




                                        Certificate of Service
This document was served by:           [ ] Mail                [   ]   Personal Service

Date: ______________________           By: Court Staff ____________________________




                                                  4
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                     EXHIBIT C




Coalition for Humane Immigrant Rights, et al. v. Noem et al., 1:25-cv-00872 (JMC)
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                               UNITED STATES DEPARTMENT OF JUSTICE
                             EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                                     ELOY IMMIGRATION COURT

Respondent Name:                                        A-Number:

                                                        Riders:
To:
                                                        In Removal Proceedings
      Torres, Bianca L                                  Initiated by the Department of Homeland Security
      1910 S. Stapley Dr.                               Date:
      Suite 221                                         05/01/2025
      Mesa, AZ 85204



                               ORDER ON MOTION TO DISMISS


           The Respondent ✓ the Department of Homeland Security          the parties jointly has/have
      filed a motion to dismiss these proceedings under 8 CFR 1239.2(c). The moving party has given
      notice of the motion to the non-moving party and the court has provided the non-moving party
      with an opportunity to respond. The motion is ✓ opposed        unopposed.

      After considering the facts and circumstances, the immigration court orders that the motion to
      dismiss is:

       ✓ Granted without prejudice
          Denied



      Further explanation:

       The court considered the respondent's opposition filed April 25, 2025, and DHS's reply filed
       May 1, 2025. The dismissal is without prejudice and the respondent may still seek relief from
       removal.



      IT IS SO ORDERED.
       Case 1:25-cv-00872-JMC        Document 22-7       Filed 06/11/25    Page 19 of 33




                                                 Immigration Judge: ORECHWA, NICOLAS 05/01/2025



                                      Certificate of Service
This document was served:
Via: [ M ] Mail | [ P ] Personal Service | [ E ] Electronic Service | [ U ] Address Unavailable
To: [ ] Noncitizen | [ ] Noncitizen c/o custodial officer | [ E ] Noncitizen's atty/rep. | [ E ] DHS
Respondent Name :                                | A-Number :
Riders:
Date: 05/01/2025 By: HARCHUT, MARGARET ANN, Court Staff
    Case 1:25-cv-00872-JMC         Document 22-7       Filed 06/11/25     Page 20 of 33




                     EXHIBIT D




Coalition for Humane Immigrant Rights, et al. v. Noem et al., 1:25-cv-00872 (JMC)
Case 1:25-cv-00872-JMC   Document 22-7   Filed 06/11/25   Page 21 of 33
        Filed at BIA on: 05/02/2025
EOIR 2 of 5                         at 06:59:32 PM (EasternDocument
                          Case 1:25-cv-00872-JMC            Daylight Time)
                                                                        22-7   Filed 06/11/25   Page 22 of 33
Case 1:25-cv-00872-JMC   Document 22-7   Filed 06/11/25   Page 23 of 33
Case 1:25-cv-00872-JMC   Document 22-7   Filed 06/11/25   Page 24 of 33
Case 1:25-cv-00872-JMC   Document 22-7   Filed 06/11/25   Page 25 of 33
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                      EXHIBIT E




Coalition for Humane Immigrant Rights, et al. v. Noem et al., 1:25-cv-00872 (JMC)
               Case 1:25-cv-00872-JMC            Document 22-7          Filed 06/11/25        Page 27 of 33


                                                                           Bianca Torres <bianca.torres@torrespllc.com>




3 messages

Bianca Torres <bianca.torres@torrespllc.com>                                                    Wed, Apr 23, 2025 at 3:10 PM
To: "EAZ-Outreach," <EAZ-Outreach@ice.dhs.gov>

 Good Afternoon,
 My client                                         and he has informed me he is being scheduled for a Credible Fear
 Interview. Attached is my G28, that should already be on file. I would like to be present for this interview. Please
 coordinate with me for scheduling. Additionally, I wanted to inform ICE that my motion to reconsider the dismissal of his
 case was granted please see attached. Thus, his case is not yet closed before an Immigration Judge.

 Lastly, my client indicated he signed some documents a couple of weeks ago. May I have a copy of what he has signed.

 Best,
 Bianca L. Torres, Esq.




          Attorney
 1910 S. Stapley Dr., Suite 221,
 Mesa AZ 85204 | (480) 626 2077


  2 attachments
      New G28                        .pdf
      311K
      Order on Motin to Reconsider.pdf
      460K


EAZ-Outreach, <EAZ-Outreach@ice.dhs.gov>                                                       Thu, Apr 24, 2025 at 11:21 AM
To: Bianca Torres <bianca.torres@torrespllc.com>


 Received and forwarded to Deportation Officer Peru.



 Thank you,

 EAZ-Outreach




 From: Bianca Torres <bianca.torres@torrespllc.com>
 Sent: Wednesday, April 23, 2025 3:11 PM
 To: EAZ-Outreach, <EAZ-Outreach@ice.dhs.gov>
 Subject:
                Case 1:25-cv-00872-JMC                  Document 22-7             Filed 06/11/25           Page 28 of 33
  CAUTION: This email originated from outside of DHS. DO NOT click links or open attachments unless you recognize and/or trust
  the sender. Please use the Cofense Report Phishing button to report. If the button is not present, click here and follow
  instructions.

 [Quoted text hidden]


  2 attachments
       New G28                            .pdf
       311K
       Order on Motin to Reconsider.pdf
       460K


EAZ-Outreach, <EAZ-Outreach@ice.dhs.gov>                                                                      Thu, Apr 24, 2025 at 4:30 PM
To: Bianca Torres <bianca.torres@torrespllc.com>


 Good day,


 You must reach out to USCIS if you like to be present in the Credible Fear interview, as USCIS conducts
 those interviews. Also, your client decline to sign M-444 Information about Credible Fear Interview, I will be
 submitting it as a refused to sign in order to proceed with scheduling his interview.


 Respectfully,


 Ema V. Peru

 Deportation Officer

 Phoenix Field Office, Eloy Detention Center

 Enforcement and Removal Operations

 U.S. Immigration and Customs Enforcement

 Cell: 520-840-6330




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 release under the Freedom of Information Act (5 U.S.C. 552). It is to be controlled, stored, handled, transmitted, distributed, and disposed
 of in accordance with DHS policy relating to FOUO information and is not to be released to the public or other personnel who do not have a
 valid "need-to-know" without prior approval of an authorized DHS official.No portion of this report should be furnished to the media, either
 in written or verbal form.



 From: Bianca Torres <bianca.torres@torrespllc.com>
 Sent: Wednesday, April 23, 2025 3:11 PM
 To: EAZ-Outreach, <EAZ-Outreach@ice.dhs.gov>
 Subject:
Case 1:25-cv-00872-JMC   Document 22-7   Filed 06/11/25   Page 29 of 33
                Case 1:25-cv-00872-JMC                   Document 22-7             Filed 06/11/25           Page 30 of 33


                                                                                       Bianca Torres <bianca.torres@torrespllc.com>




3 messages

Peru, Ema V <Ema.V.Peru@ice.dhs.gov>                                                                           Thu, Apr 24, 2025 at 4:28 PM
To: "bianca.torres@torrespllc.com" <bianca.torres@torrespllc.com>


  Good day,



  You must reach out to USCIS if you like to be present in the Credible Fear interview, as USCIS conducts credible fear
  interviews. Also, your client declines to sign M-444 Information about Credible Fear Interview, I will be submitting it as a
  refused to sign to proceed with scheduling his interview.



  Respectfully,



  Ema V. Peru

  Deportation Officer

  Phoenix Field Office, Eloy Detention Center

  Enforcement and Removal Operations

  U.S. Immigration and Customs Enforcement

  Cell: 520-840-6330




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  valid "need-to-know" without prior approval of an authorized DHS official.No portion of this report should be furnished to the media, either
  in written or verbal form.




Bianca Torres <bianca.torres@torrespllc.com>                                                                   Fri, Apr 25, 2025 at 11:20 AM
To: "Peru, Ema V" <Ema.V.Peru@ice.dhs.gov>

  Thank you for the information, I sent an email to the LA Asylum Office. Do you know if there is another way I need to
  notify USCIS?

  My client stated he did sign some documents but it was a couple weeks back, could you please share with me the
  documents he did sign?

  Best,
                Case 1:25-cv-00872-JMC         Document 22-7         Filed 06/11/25       Page 31 of 33
 Bianca L. Torres, Esq.




         Attorney
 1910 S Stapley Dr , Suite 221,
 Mesa AZ 85204 | (480) 626-2077


 [Quoted text hidden]



Bianca Torres <bianca.torres@torrespllc.com>                                                 Tue, Apr 29, 2025 at 4:19 PM
To: "Peru, Ema V" <Ema.V.Peru@ice.dhs.gov>

 Hello again,

 I am following up on my previous email. My client had an attempted interview but requested my presence. I have not had
 any communication with USCIS regarding his CFI. I sent my G28 to the LA Asylum Office email box, do you have
 anyother point of contact for USCIS CFI's?


 Best,
 Bianca L. Torres, Esq.




         Attorney
 1910 S Stapley Dr , Suite 221,
 Mesa AZ 85204 | (480) 626-2077


 [Quoted text hidden]
    Case 1:25-cv-00872-JMC         Document 22-7       Filed 06/11/25     Page 32 of 33




                      EXHIBIT F




Coalition for Humane Immigrant Rights, et al. v. Noem et al., 1:25-cv-00872 (JMC)
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                                                                            Bianca Torres <bianca.torres@torrespllc.com>



G28 for pending CFI interview
1 message

Bianca Torres <bianca.torres@torrespllc.com>                                                     Fri, Apr 25, 2025 at 11:17 AM
To: losangelesasylum@uscis.dhs.gov

 Good Afternoon,
 My client                                        has informed me he is being scheduled for a Credible Fear Interview.
 Attached is my G28. I would like to be present for this interview. Please coordinate with me for scheduling. Additionally, I
 wanted to inform USCIS/ICE that my motion to reconsider the dismissal of his case was granted please see attached.
 Thus, his case is not yet closed before an Immigration Judge and he is still in removal proceedings.


 Best,
 Bianca L. Torres, Esq.




         Attorney
 1910 S Stapley Dr , Suite 221,
 Mesa AZ 85204 | (480) 626-2077


  2 attachments
      Order on Motin to Reconsider.pdf
      460K
      g28                         .pdf
      344K
